Case: 1:20-cv-06643 Document #: 54 Filed: 05/05/23 Page 1 of 3 Pa #409 SMB

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MAy 05 2923
UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF lunes (Bes @ BRUTO
EASTERN DIVISION STRICT Coury
Tyrion S Hodges. Case No. 20-cv-6643

V.

Judge: John F Kness

Thomas Dart ETAL.

PLAINTIFF STATUS REPORT

Now comes Plaintiff Tyrion Hodges standing at law asserting his federal and

state constitutionai rights, privileges, immunities and protections vested in

its entitled amendments expressed as the law of the land.

This is a status report based on the concerns with proceeding.

| have received two disks with material | am not able to view. ALL BOY
CAMERA FOOTAGE From CCDOC is missing and the Dic 9 Tier cameras
are not showing a visual which is primary to proving plaintiffs’ claims.
Plaintiff & defendants have been working to come to a mutual
settlement but has not come to a fair conclusion as of now.

| have not been able to contact my witnesses due to Me being denied
Visitation at CCDOC where most of plaintiff's witnesses remains.
Opposing counsel is delaying sending the correct footage requested
which contains to the ongoing abuse harassment and multiple
violations of plaintiff's constitutional rights.

April 14,2023 plaintiff was shot multiple times and may need further
assistance for preparing case.

| Move the honorable judge John F Kness to enter an order for a Date to

come in person & address these issues.

Respectively submitted, Tyrion S Hodges
Case: 1:20-cv-06643 Document #: 54 Filed: 05/05/23 Page 2 of 3 PagelD #:410

CERTIFICATE OF SERVICE

| hereby certify that on April 27, 2023

| placed in US Mail, along with this certificate, a copy of status report ordered
by the court to the following addresses 219 S Dearborn St. Chicago IL 60608

| the Plaintiff’, Tyrion Hodges, served via electronic mail to denfendants at the
email address of record below.

To:

U.S Dist. Court Clerk Thomas Burton

219 S Dearborn St Chicago,IL 60617

DEVORE RADUNSKY LLC

Jason E. DeVore (ARDC # 6242782)

Troy S. Radunsky (ARDC # 6269281)

230 W. Monroe St., Suite 230 Chicago, IL 60606
(312) 300-4479

jdevore@devoreradunsky.com

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Case: 1:20-cv-06643 Document #: 54 Filed: 05/05/23 Page 3 of 3 PagelD #:411

THE UNIVERSITY OF

CHICAGO

UChicago Medicine

Date: 4/28/2023

To whom it may concern:

This letter is in reference to _Tyrion Hodges_ 2/6/1997_) who is a patient at the
University of Chicago Medical Center. They were admitted on __4/21/2023__and currently
remain hospitalized. They are currently unable to address any personal matters outside of the
hospital due to their current medical condition. Family is present to provide support and obtain

updates on their medical condition. Please contact me with any questions.

Sincerely,

Carlos Robles, LCSW, AM

Clinical Manager/Social Worker
Uchicago Medicine

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